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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Greenbelt Division

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :      Criminal Case No. PX-20-0434
                                             :
JEREMY WYETH SCHULMAN                        :


     MOTION TO EXCLUDE INADMISSIBLE TESTIMONY OF LARRY JAY BEABES

       Defendant Jeremy Schulman, by and through counsel, respectfully moves this Court to

preclude the government from eliciting any testimony or evidence concerning alleged prior bad

acts by Mr. Schulman pursuant to Rules 401, 403, and 404(b) of the Federal Rules of Evidence.

On Friday, March 22, 2024, the government noticed its intent to elicit testimony from Larry Jay

Beabes, the Controller at Shulman, Rogers, Gandal, Pordy, Ecker, P.A. (“Shulman Rogers”),

regarding Mr. Schulman’s compliance with Shulman Rogers’ financial rules and procedures and

Mr. Beabes’ impression of Mr. Schulman’s attitude towards such procedures. The government

should be precluded from (i) eliciting such testimony or (ii) presenting argument that Mr.

Schulman’s compliance with and opinions regarding the Shulman Rogers financial rules and

procedures is evidence of Mr. Schulman’s intent, knowledge, opportunity, absence of mistake, and

lack of accident as to the charged conduct. See Ex. 1, Notice Regarding Anticipated Trial Evidence

Pursuant to Federal Rule of Evidence 404(b)(3) (“Notice”).

       The government has noticed its intent to elicit testimony from Shulman Rogers Controller

Mr. Beabes that:

              Mr. Schulman did not provide backup documentation for some
               expenses related to Somalia;

              Mr. Schulman was resistant to the firm’s financial rules and
               procedures; and
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               Mr. Schulman conveyed to the Finance Department that he did not
                care about firm policies requiring receipts. When Mr. Beabes raised
                an issue with Mr. Schulman about this, Mr. Schulman told Mr.
                Beabes that he should take Mr. Schulman at his word.

See Ex. 1 at 2. The Notice asserts that this testimony relates to its allegation that:

                [Mr. Schulman] in connection with causing Shulman Rogers to
                register with the Department of Justice under the Foreign Agents
                Registration (“FARA”), ‘concealed from a senior member of
                [Shulman Rogers’] management and others at [Shulman Rogers]
                that SCHULMAN and Amalo created the 2009 Fraudulent Decree
                Translation, and that SCHULMAN knew that Former Governor 1
                had merely been appointed as an advisor to the Transitional
                Government of Somalia.

Ex. 1 (quoting Indictment, ECF No. 1 (Dec. 2, 2020), at ¶ 39). The government has also alleged

that Mr. Schulman worked with co-conspirator (and cooperator) Abdi Amalo, “to create a

fraudulent invoice” that “contained entries reflecting work that Amalo did not actually perform

and that Schulman knew were false.” Ex. 1 at 2 (quoting Indictment at 19-20 ¶¶60-63).

                                           ARGUMENT

       The testimony the government intends to elicit from Mr. Beabes is inadmissible. The

testimony is not relevant. To the extent it is relevant, it should be precluded because it is unfairly

prejudicial, confuses the issues, and misleads the jury; or, in the alternative, is improper character

evidence.

   A. The Proffered Testimony is Not Relevant.

       “[A]ny evidence which tends to make the existence of a fact of consequence to an issue in

the case ‘more probable or less probable’ than without the evidence is relevant and therefore, as a

general proposition, admissible.” United States v. Queen, 132 F.3d 991, 994 (4th Cir. 1997) (citing

Fed. R. Evid. 401, 402). Mr. Schulman’s conduct with respect to the submission of supporting

documentation for expenses (or even the refusal to provide the same) is not relevant to the charged

conduct. The noticed testimony does not make it more or less likely that Mr. Schulman allegedly

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caused Shulman Rogers to submit a false FARA filing or provide payment to Haden Global

Services based on false invoices. To the contrary, such evidence merely permits the jury to draw

inferences based upon “speculation or conjecture” and the testimony should be excluded.

   B. The Proffered Testimony of Mr. Beabes is Unfairly Prejudicial, Confuses the Issues,
      or Misleads the Jury.

       Rule 403 of the Federal Rule of Evidence requires that the probative value of evidence,

“must not be ‘substantially outweighed’ by its prejudicial nature.” Id. at 995. Ultimately,

propensity evidence of this nature must be “excluded because it might ‘overpersuade’ a jury and

cause them to ‘prejudge one with a bad general record.’” Id. (quoting Michelson v. United States,

335 U.S. 469, 475-76 (1948)). Even if the testimony and proffered by the government overcomes

a “liberal threshold of relevance,” any probative value is substantially outweighed by its unfair

prejudice, risk of confusion, and likelihood of misleading the jury. Guthrey v. Cal. Dep’t of Corrs.

and Rehab., No. 1:10-cv-02177, 2012 U.S. Dist. LEXIS 89174, at *24 (E.D. Cal. June 27, 2012).

Mr. Schulman’s conduct with respect to Shulman Rogers’ accounting practices does not mean that

he has a propensity to commit fraud.

   C. The Proffered Testimony of Mr. Beabes is Improper Character Evidence.

       Even if the government’s proffered testimony is relevant, and even if it is not more

prejudicial than probative, it is inadmissible because it is improper character evidence. “Evidence

of any other crime, wrong, or act is not admissible to prove a person’s character in order to show

that on a particular occasion the person acted in accordance with the character.” See Fed. R. Evid.

404(b)(1). The government intends to rely upon Mr. Beabes’ testimony to prove that because Mr.

Schulman allegedly “did not provide backup documentation for some expenses related to Somalia

. . . was resistant to the firm’s financial rules and procedures . . . [and] that he did not care about

firm policies regarding receipts[,]” that he is likely to have created false documents as alleged in


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the Indictment. Ex. 1 at 3-4. But the charges against Mr. Schulman and the proffered testimony of

Mr. Beabes are distinct, and the proffered testimony does not serve any legitimate purpose in the

jury’s consideration of the charged conduct pursuant to Rule 404(b)(2). It does not show Mr.

Schulman’s intent, knowledge, opportunity, absence of mistake, and lack of accident with respect

to the charged conduct. See United States v. Hall, 858 F.3d 254, 260-61 (4th Cir. 2017) (prior

conviction could not be used to show knowledge and intent to commit a later drug offense).

       While the Federal Rules of Evidence and the Fourth Circuit recognize exceptions to Rule

404(b)(1), the proffered testimony does not fall within any of these exceptions: the proffered

testimony is not intrinsic to the charged offenses and does not prove motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident. See Fed. R. Evid.

404(b)(1). For evidence to be intrinsic it must be “probative of an integral component of the crime

on trial or provide information without which the factfinder would have an incomplete or

inaccurate view of other evidence or of the story of the crime itself.” United States v. Brizuela,

962 F.2d 784, 795 (4th Cir. 2020). This analysis “requires a hard look to ensure that there is a clear

link or nexus between the evidence and the story of the charged offense, and that the purpose for

which the evidence is offered is actually essential.” Id. The noticed conduct is not intrinsic to the

charged offenses. This testimony squarely falls within Rule 404(b)(1)’s prohibition on the

admission of “bad acts” evidence for the sole purpose of proving that a defendant acted in

accordance with such character. The government attempts to tie the proffered testimony to the

charged conspiracy by asserting that Mr. Schulman “deceived Shulman Rogers in furtherance of

the fraud scheme” through the submission of allegedly false FARA filings and the payment of the

Haden Global Services invoice. Ex. 1 at 3. Contrary to the government’s contention, Mr.

Schulman’s general conduct at the firm, even as it related to firm financial matters, is not intrinsic



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to the charged conduct. The proffered testimony and the charged conspiracy—even those elements

related to the alleged deception of Shulman Rogers—are not part of a “single criminal episode.”

United States v. Otuya, 720 F.3d 183, 188 (4th Cir. 2013). The government need not present—and

a jury need not hear—evidence regarding Mr. Schulman’s practice with respect to submitting

reimbursement expenses to develop a complete story of the government’s charges against Mr.

Schulman. Queen, 132 F.3d at 997. See also Hall, 858 F.3d at 260 (district court abused discretion

in admitting evidence regarding defendant’s prior conviction where no connection between prior

conviction and instant offense).

                                        CONCLUSION

       For the foregoing reasons, Mr. Schulman respectfully requests that this Court exclude the

testimony proffered by the government in its March 22, 2024, 404(b) Notice.

Dated: March 27, 2024                               Respectfully submitted,

                                                    /s/
                                                    Paul W. Butler (Pro Hac Vice)
                                                    Allison T. Coffin (Pro Hac Vice)
                                                    Madeline M. Bardi (Pro Hac Vice)
                                                    Counsel for Jeremy Wyeth Schulman
                                                    Akin Gump Strauss Hauer & Feld LLP
                                                    2001 K Street NW
                                                    Washington, DC 20006
                                                    Telephone: (202) 887-4000
                                                    Fax: (202) 887-4288
                                                    E-mail: pbutler@akingump.com
                                                             acoffin@akingump.com
                                                             mbardi@akingump.com



                                                    /s/
                                                    Stanley E. Woodward (MD Bar No. 18115)
                                                    Counsel for Jeremy Wyeth Schulman
                                                    Brand Woodward Law
                                                    1808 Park Rd NW
                                                    Washington, DC 20010

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                                  Telephone: (202) 996-7447
                                  Fax: (202) 996.0113
                                  E-mail: stanley@brandwoodwardlaw.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of March 2024, I electronically filed the foregoing

Motion to Exclude Inadmissible Testimony of Larry Jay Beabes with the Clerk of the Court for

the U.S. District Court for the District of Maryland, using the Court’s CM/ECF system. The

CM/ECF system sent a “Notice of Electronic Filing” to all counsel of record who have entered an

appearance in this matter.



Dated: March 27, 2024                              Respectfully submitted,

                                                   /s/
                                                   Paul W. Butler (Pro Hac Vice)
                                                   Counsel for Jeremy Wyeth Schulman
                                                   Akin Gump Strauss Hauer & Feld LLP
                                                   2001 K Street NW
                                                   Washington, DC 20006
                                                   Telephone: (202) 887-4000
                                                   Fax: (202) 887-4288
                                                   E-mail: pbutler@akingump.com
